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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:04CR387
                                             )
                     Plaintiff,              )
                                             )           ORDER MODIFYING
              vs.                            )         CONDITIONS OF RELEASE
                                             )
WILLIAM COATES,                              )
                                             )
                     Defendant.              )

       This matter is before the Court on the Defendant William Coates’s Motion to Modify

the Pre-Trial Release Condition (Filing No. 78). Based on the representations made in the

motion, I find that the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     The Motion to Modify Conditions of Release (Filing No. 78) is granted;

       2)     The conditions of release contained in the previous order of release and

order modifying conditions of release shall remain in effect (Filing Nos. 12 and 37),

provided that the conditions contained therein do not conflict with the following

modification: That the Defendant shall be allowed to reside at the residence described in

the motion at Filing No. 78.

DATED this 19th day of May, 2005.


                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          United States District Judge
